Case 2:14-cv-00186-MHT-CSC Document 26-5 Filed 05/23/14 Pagelof4

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF ALABAMA

SHARNALLE MITCHELL,
LORENZO BROWN ,
TITO WILLIAMS,
COURTNEY TUBBS,

Plaintiffs,
Vv.
Case No.
THE CITY OF MONTGOMERY,

Defendant,

Nee ee Oe ee ee ee ee

DECLARATION OF LORENZO BROWN

1) I, Lorenzo Brown, am a 58-year-old resident of Montgomery, Alabama. I think
that I was born in Selma, but I have lived in Montgomery for as long as I can remember.

2) I am disabled, and I suffer from a variety of health problems, including spinal
problems and constant pain in my joints. I also have arthritis, pain, and lack of movement and
muscle spasms in my hands.

3) In 2010, I got a number of traffic tickets in the period of a few months. | did not
have a lawyer at the time and did not fight the tickets. I was a regular drug user at the time, and I
was struggling to survive. Because I could not afford to pay the fines and court costs, | recall
that the City put me on a payment plan with a private company called Judicial Correction
Services. The City refered to this as probation. My recollection is that the company said that
they were going to charge me a set-up fee and an additional fee of $40 per month on top of what

I owed to the City for my tickets for as long as it took to pay off the entire amount.
Case 2:14-cv-00186-MHT-CSC Document 26-5 Filed 05/23/14 Page2of4

4) I had successfully completed probation with this company in 2008 for other
tickets, but this time I knew that I could not pay because my life was a mess and I did not have
the resources. In 2010, I had a lot of trouble making the payments because I was not working
consistently and was addicted to drugs. As a result, | did not pay the company or the City.

a) Early in the morming on Friday January 24, 2014, police from the City of
Montgomery came to the boarding house where I stay and arrested me. I knew that the police
wanted something from me because they had left a card at my house some days earlier, and I had
called them back and left a message.

6) The police took me to the City jail around 7:00 a.m., and I stayed there for three
days and nights. On January 27, 2010, I was brought to the City court. The judge told me that I
now owed the City approximately $2,200 in total. I think that amount included the addition of
extra fees and surcharges for debt collection and other fees.

7) The City did not appoint an attorney to represent me. Behind the courtroom, |
saw a man who looked like a lawyer talking to a few other inmates before the inmates went out
to the courtroom, but the man did not talk to me about my case. Like the other inmates, I had to
stand before the judge on my own.

8) The judge told me that I would be kept in the City jail unless I could pay at least
half of what I now owed, which they said would be about $1,100. I was also asked if I could get
someone else to come down to the court with the money. I told the City prosecutor and the judge
about my previous drug addiction and that I did not have the ability to pay what they wanted. |
asked the court to have mercy on me. The judge ordered me to serve out what | owed to the City

at a rate of $50 per day, which he said was 44 days in jail.
Case 2:14-cv-00186-MHT-CSC Document 26-5 Filed 05/23/14 Page3of4

9) They did not ask me any more questions or give me any forms to fill out
regarding my ability to pay. They took me back to the City jail.

10) | When I got back to the City jail, the guards gave me a piece of paper listing my
tickets and saying that I would have to either pay the City $1,404 or serve 28 days in the City
jail.

11) Iwas happy that my time in jail was now reduced from 44 days to 28 days, but I
still could not afford to pay to get out earlier.

12)  Isaw and talked to a lot of other people in City court and at the City jail who were
also there because they could not afford to pay the City for traffic debts. Our jail was so
crowded with these people that men were sleeping all over the floor. I also had to sleep on the
floor, even though I have spinal and joint problems and was nearly 58 years old at the time. It
was a terrible experience.

13) | When I was released, the City put me back on a payment plan, and now I have to
pay them $150 per month. If I do not pay them or cannot pay them the total amount, I am
worried that they will put me back in the City jail again.

14) I think I last had a job about four years ago. Because of my drug addiction, it is
difficult for me to remember. I no longer drive and got rid of my car after the 2010 tickets.

15) | My source of income now for my survival is my Social Security disability check.
I believe that my check is $969 per month. I have to use this money to pay for my shelter, food,
phone, medical needs, clothes, and every other aspect of my daily life. If 1 pay the City for the
debt that they say I owe them for the traffic tickets and other surcharges, it will have to come

from my disability check.
Case 2:14-cv-00186-MHT-CSC Document 26-5 Filed 05/23/14 Page4of4

16) I have a bank account that I use to collect by disability check, but I live check-to-
check, and I believe there is less than $100 in the account now. I do not own anything

significant of value.

I declare under penalty of perjury that the forgoing is true and correct.

Jowrsra Cyzur Se. 3-1 wry

Lorenzo Brown Date

